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                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF DELAWARE

                              FEE APPLICATION COVER SHEET FOR THE PERIOD
                               SEPTEMBER 7, 2023 THROUGH DECEMEBR 31, 2023


     Debtor:          Lordstown Motors Corp., et al., 1           Applicant:        Brown Rudnick LLP

     Case No.:        23-10831 (MFW)                              Client:           Official Committee of Equity Security Holders


     Chapter:         11                                          Case Filed:       June 27, 2023



                                                     SECTION 1
                                                   FEE SUMMARY

     ☐ Monthly Fee Application No. or ☒ Interim Fee Application No. 1 or ☐ Final Fee Application

     Summary of Amounts Requested for the Period from September 7, 2023 through December 31, 2023
     (the “First Interim Period”)

     Total Fees:                                                         $1,906,541.00 2
     Total Disbursements:                                                  $15,858.79
     Total First Interim Fee Application:                                $1,922,399.79

     Holdback Due:                                                       $381,308.20
     (20% holdback of Fees From 1st through 4th
      Monthly Fee Statements)


                           TIME AND COMPENSATION BREAKDOWN – PARTNERS

 Name of Professional             Position; Admission Date;                 Hourly           Total              Total
 Person                           Specialty                                 Billing          Hours              Compensation
                                                                             Rate
Robert J. Stark                 Partner; Admitted to New Jersey               $1,950              152.4           $297,180.00
                                Bar in 1995; New York Bar in
                                1996;
                                Bankruptcy & Corporate
                                Restructuring




 1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
       (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
       27000 Hills Tech Ct., Farmington Hills, MI 48331.
 2
       Brown Rudnick excluded fees in the amount of $34,098.50 in respect of transient timekeepers and other voluntary
       reductions.
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                          TIME AND COMPENSATION BREAKDOWN – PARTNERS

 Name of Professional        Position; Admission Date;           Hourly      Total        Total
 Person                      Specialty                           Billing     Hours        Compensation
                                                                  Rate
Andrew P. Strehle           Partner; Admitted to                  $1,405             .8       $1,124.00
                            Massachusetts Bar in 1994; New
                            York Bar in 2010;
                            Finance
Kevin A. Brown              Partner; Admitted to New Jersey       $1,400         16.8        $23,520.00
                            Bar in 2006; New York Bar in
                            2008;
                            Tax
Bennett S. Silverberg       Partner; Admitted to New York         $1,390        269.5       $374,605.00
                            Bar in 2001; Bankruptcy &
                            Corporate Restructuring
Vincent J. Guglielmotti     Partner; Admitted to New Jersey       $1,375         12.4        $17,050.00
                            Bar in 2005; New York Bar 2006;
                            Tax
Philip J. Flink             Partner; Admitted to                  $1,360         79.2       $107,712.00
                            Massachusetts Bar 1981;
                            Corporate-US
Michael S. Winograd         Partner; Admitted to New York         $1,280        137.7       $176,256.00
                            Bar in 2001;
                            Litigation & Arbitration
Nicole M. Bouchard          Partner; Admitted to New York         $1,200         91.0       $109,200.00
                            Bar in 2009;
                            Tax
John Cushing                Partner; Admitted to                  $1,140        149.9       $170,886.00
                            Massachusetts Bar in 1999;
                            Corporate
Shari I. Dwoskin            Partner; Admitted to                  $1,025        131.8       $135,095.00
                            Massachusetts Bar in 2014; New
                            York Bar in 2023;
                            Bankruptcy & Corporate
                            Restructuring
Jonathan T. Fitzsimons      Partner; Admitted to New York         $1,005          2.3         $2,311.50
                            Bar in 2016;
                            Corporate
Tristan G. Axelrod          Partner; Admitted to                  $1,000          8.2         $8,200.00
                            Massachusetts Bar in 2015;
                            Bankruptcy & Corporate
                            Restructuring
Daniel J. Healy             Partner; Admitted to New York           $925         49.1        $45,417.50
                            Bar in 1999; Massachusetts Bar
                            in 1999; District of Columbia Bar
                            in 2002; Maryland Bar in 2005;
                            Litigation
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                        TIME AND COMPENSATION BREAKDOWN – PARTNERS

  Name of Professional     Position; Admission Date;            Hourly       Total        Total
  Person                   Specialty                            Billing      Hours        Compensation
                                                                 Rate
TOTAL                                                                          1,101.1    $1,468,557.00
PARTNER                                                        $1,333.72
BLENDED RATE




         TIME AND COMPENSATION BREAKDOWN – ASSOCIATES AND OTHER COUNSEL

 Name of Professional        Position; Admission Date;        Hourly           Total      Total
 Person                      Specialty                        Billing Rate     Hours      Compensation
Barbara J. Kelly            Counsel; Admitted to New              $1,375         13.6       $18,700.00
                            York Bar in 1982;
                            Tax
Matthew A. Sawyer           Associate; Admitted to                  $890        150.3      $133,767.00
                            Massachusetts Bar in 2019;
                            Bankruptcy & Corporate
                            Restructuring
Alexander F. Kasnetz        Associate; Admitted to Illinois         $890         72.1       $64,169.00
                            Bar in 2018;
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        TIME AND COMPENSATION BREAKDOWN – ASSOCIATES AND OTHER COUNSEL

 Name of Professional     Position; Admission Date;       Hourly           Total      Total
 Person                   Specialty                       Billing Rate     Hours      Compensation
                        Bankruptcy & Corporate
                        Restructuring
Morgan Jones            Associate; Admitted to New             $780          23.4       $18,252.00
                        Jersey Bar in 2011; New York
                        Bar in 2012;
                        Corporate
Lydell W. Benson Jr.    Associate; Admitted to New             $765          49.5       $37,867.50
                        York Bar in 2012;
                        Litigation & Arbitration
Alessandra Maldonado    Associate; Admitted in New             $765          27.5       $21,037.50
                        York Bar in 2021;
                        Litigation & Arbitration
Luis A. Vargas Rivera   Associate; Admitted to Rhode           $765          38.8       $29,682.00
                        Island Bar in 2021;
                        Massachusetts Bar in 2022;
                        Litigation and Arbitration
Joel T. Todd            Associate; Admitted to District        $765           5.9        $4,513.50
                        of Columbia Bar in 2020;
                        Maryland Bar in 2021; Florida
                        Bar in 2021;
                        Corporate
Jennifer M. Schein      Associate; Admitted to New             $765           5.4        $4,131.00
                        York Bar in 2017; New Jersey
                        Bar in 2017;
                        Bankruptcy & Corporate
                        Restructuring
Richard Jean-Baptiste   Associate; Admitted to New             $685          37.9       $25,961.50
                        York Bar in 2022;
                        Corporate & Capital Markets
Ethan H. Calhoun        Associate; Admitted to                 $635           8.2        $5,207.00
                        Alabama Bar in 2021; New
                        York Bar in 2023;
                        Bankruptcy & Corporate
                        Restructuring
Elizabeth C. Castano    Law Clerk; Awaiting                    $635          54.2       $34,417.00
                        Admission
TOTAL                                                                       486.8      $397,705.00

ASSOCIATE & OTHER                                            $816.98
COUNSEL BLENDED
RATE
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                   TIME AND COMPENSATION BREAKDOWN - PARAPROFESSIONALS


 Name of Professional Person     Position/Numbers of Years        Hourly Billing    Total        Total
                                                                      Rate          Hours     Compensation

Madelyn A. Soliman             Paralegal;                                 $470         85.7      $40,279.00
                               Bankruptcy & Corporate
                               Restructuring; over 3 years

TOTAL                                                                                  85.7      $40,279.00

PARAPROFESSIONALS                                                      $470.00
BLENDED RATE

GRAND TOTAL                                                                        1,673.60   $1,906,541.00

BLENDED RATE FOR                                                     $1,139.19
ALL BROWN RUDNICK
TIMEKEEPERS


 Fee Totals:                                      $1,906,541.00
 Disbursements Totals:                            $15,858.79
 Total Fee Application                            $1,922,399.79
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                                           SECTION II
                                       SUMMARY OF SERVICES

PROJECT CATEGORY                                            HOURS                           FEE

Case Administration                                                    61.2             $33,001.00

Meetings and Communications with Equity Security Holders              159.4            $238,567.50

Employment and Fee Applications                                        76.4             $59,883.00

Plan and Disclosure Statement                                         688.1            $853,987.50

Stay Relief/Injunction Litigation                                      48.2             $45,622.50

Committee Governance Matters                                            3.3              $3,287.00

Committee Investigation                                                80.3             $70,724.00

Claims Administration and Objections                                  141.7            $153,768.50

Tax                                                                    95.7             $98,148.50

Hearings                                                                5.4              $7,971.00

Regulatory Issues                                                       8.7             $13,313.00

Asset Sales and Disposition                                            47.6             $56,444.50

Foxconn Litigation                                                    205.6            $216,218.00

Contested Matters                                                      52.0             $55,605.00

SERVICE TOTALS:                                                   1,673.6             $1,906,541.00




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                                          SECTION III
                                    SUMMARY OF DISBURSEMENTS

DISBURSEMENTS                                                                         AMOUNT

Filing Fee                                                                                 $907.30

Outside Reproduction Services                                                              $383.33

In-house Reproduction Services                                                             $674.55

Westlaw and Lexis Online Transactional Searches / Docs                                   $13,211.04

Meals                                                                                      $115.32

Pacer                                                                                      $113.30

Parking and Tolls                                                                          $188.50

Taxi                                                                                       $265.45

SERVICE TOTALS:                                                                          $15,858.79



   I certify under penalty of perjury that the above is true.

   Date: February 14, 2024                                      /s/ Robert J. Stark
  64571028 v1




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
    In re:
                                                           Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al., 1
                                                           Hearing Date: March 14, 2024 at 3:00 p.m.
                                                           (prevailing Eastern Time)
                             Debtors.
                                                           Objection Deadline: March 5, 2024 at 4:00 p.m.
                                                           (prevailing Eastern Time)


            FIRST INTERIM APPLICATION FOR ALLOWANCE OF FEES AND
        REIMBURSEMENT OF EXPENSES OF BROWN RUDNICK LLP, AS COUNSEL
          TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS OF
         LORDSTOWN MOTORS CORP., ET AL., FOR SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM
          SEPTEMBER 7, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

             Brown Rudnick LLP (“Brown Rudnick”), counsel to the Official Committee of Equity

Security Holders (the “Equity Committee”), of Lordstown Motors Corp. and its affiliated debtors and

debtors-in-possession (collectively, the “Debtors”), hereby submits this First Interim Application (the

“Interim Application”), pursuant to 11 U.S.C. §§ 328, 330, and 331, Fed. R. Bankr. P. 2016, the Local

Rules of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the

Guidelines for Reviewing Applications for Compensation and Reimbursement of Disbursements Filed

under 11 U.S.C. § 330 (Appendix A to 28 C.F.R. § 58) (the “UST Guidelines”), and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11

Professionals and Committee Members dated July 25, 2023 (the “Interim Compensation Order”)

[Dkt. No. 181] for the interim allowance of compensation for professional services provided in the




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331
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amount of $1,906,541.00 and reimbursement of actual and necessary expenses in the amount of

$15,858.79 that Brown Rudnick incurred for the period from September 7, 2023 through and

including December 31, 2023 (the “Application Period”) and requests entry of an order granting the

First Interim Application and authorizing interim allowance of compensation. In support of the

Interim Application, Brown Rudnick respectfully represents as follows:

       1.       On June 27, 2023, the Debtors filed voluntary petitions for relief under Chapter 11

of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware, thereby

commencing these cases (the “Cases”). As of the date hereof, the Debtors continue as the debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee of

examiner has been appointed in these Cases.

       2.       On July 25, 2023, the Court entered the Interim Compensation Order. Pursuant to

the Interim Compensation Order, the Court established a procedure for payment of interim

compensation and reimbursement of disbursements for professionals retained in these Cases. In

particular, the Court authorized the filing and service to certain notice parties of monthly fee

applications by professionals retained in these Cases (including professionals employed by the

Equity Committee) and payment by the Debtor of 80% of fees and 100% of expenses, in the

absence of an objection made within twenty (20) days of service of the pertinent application.

       3.       On September 7, 2023, the Office of the United States Trustee (the “U.S. Trustee”

or “UST”) filed the Notice of Appointment of Official Committee of Equity Security Holders [Dkt.

No. 375].

       4.       On September 7, 2023, the Equity Committee selected Brown Rudnick to serve as

its counsel.




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       5.      On September 27, 2023, the Equity Committee filed the Application for Order

Authorizing the Employment and Retention of Brown Rudnick LLP as Counsel for the Official

Committee of Equity Security Holders of Lordstown Motors Corp., et al., Nunc Pro Tunc to

September 7, 2023 (the “Retention Application”) [Dkt No 477]. On October 16, 2023, the Court

entered an order approving the Retention Application [Dkt No. 558].

       6.      This Application is Brown Rudnick’s first application for allowance of interim

compensation for services rendered and for reimbursement of expenses. Brown Rudnick has

previously filed (4) monthly fee statements [Docket Nos. 669, 786, 863, and 943] (together the

“Monthly Fee Applications”) covering the Application Period. The Monthly Fee Applications

were also served upon the Debtors, the U.S Trustee, and the other notice parties in accordance with

the provisions of the Interim Compensation Order and are incorporated herein by reference.

                    SUMMARY OF SERVICES PERFORMED BY
             BROWN RUDNICK DURING THE FIRST INTERMI FEE PERIOD

       7.      The services rendered by Brown Rudnick during these Chapter 11 Cases can be

grouped into the categories set forth below. Brown Rudnick attempted to place the services

provided in the category that best relates to such services. However, because certain services may

relate to one or more categories, services pertaining to one category may in fact be included in

another category. The following provides narrative description of project categories to which

attorneys and paraprofessionals of Brown Rudnick dedicated the most significant time (i.e., time

charges in excess of $50,000 in the aggregate) during the Application Period:

       (a)     Plan and Disclosure Statement (Matter 0006): Fees: $853,987.50; Total Hours:

688.1. These fees include significant work negotiating the terms of an acceptable Plan with the

Debtors and other stakeholders. Among other things, the Plan negotiated by the Equity Committee

unimpairs the interests of common and preferred shareholders, incorporates a settlement with



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certain securities’ claimants and the Securities Exchange Commission, establishes reserves for the

payment of general unsecured creditors, and provides for the reorganization of the Debtors. On

behalf of the Equity Committee, Brown Rudnick prepared and revised certain Plan supplement

documents, including the litigation trust agreement, schedule of retained causes of action, and

governance documents. Brown Rudnick and the Debtors negotiated revisions to such plan with,

among other parties, the Securities and Exchange Commission, representatives for the certain class

action plaintiffs, and Foxconn to address concerns of these parties with respect the Plan. The

hearing to consider the confirmation of the plan is currently scheduled for March 5, 2024, at 3:00

p.m. (prevailing Eastern Time).

       (b)     Meetings and Communications with Equity Security Holders (Matter 0003): Fees:

$238,567.50; Total Hours: 159.4. These fees include all services rendered by Brown Rudnick

relating to meetings with the Equity Committee. It was and remains necessary for the Equity

Committee to communicate frequently with its advisors to discuss case developments and strategic

decisions.   During the Application Period, Brown Rudnick and other Equity Committee

professionals conducted periodic meetings with the Equity Committee. Brown Rudnick also

responded to numerous equity holder inquiries regarding the status of these Chapter 11 Cases

during the Application Period.

       (c)     Foxconn Litigation (Matter 0017): Fees: $216,218.00; Total Hours: 205.6. These

fees relate to Brown Rudnick’s work evaluating the potential estate claims against Foxconn and

Foxconn’s interests in the Debtors. On June 27, 2023, the Debtors filed a complaint (the “Foxconn

Complaint”) against Foxconn commencing the adversary proceeding styled Lordstown Motors

Corp. and Lordstown EV Corporation, v. Hon Hai Precision Industry Co., Ltd (a/k/a Hon Hai

Technology Group), et al., Adv. Pro. No. 23-50414 (MFW). Brown Rudnick, on behalf of the




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Equity Committee, reviewed the allegations against Foxconn and Foxconn’s response thereto to

better evaluate the merits of the claims and advise the Equity Committee accordingly. On behalf

of the Equity Committee, Brown Rudnick prepared the Equity Committee’s joinder to Plaintiffs’

Opposition to Defendants’ Motion to Dismiss all Counts of the Adversary Complaint [Docket No.

17 in Adv. Proc. No. 23-50414].

       (d)     Claims Administration and Objections (Matter 0011): Fees: $153,768.50; Total

Hours: 141.7. These fees relate to Brown Rudnick’s work analyzing claims and potential claims

against the Debtors, including unliquidated, severance, and other insider claims and securities

plaintiffs’ claims. The Equity Committee reached a resolution with the Debtors with respect to

the allowance of certain executives’ severance claims, which was memorialized in the Debtors’

Motion for Entry of an Order (I) Authorizing the Debtors to Settle Claims Under Certain

Employment Agreements and (II) Granting Related Relief [Docket No. 690] and approved by the

Court [Docket No. 759].

       (e)     Tax (Matter 0012): Fees: $98,148.50; Total Hours: 95.7. These fees relate to

Brown Rudnick’s analysis and assessment of tax matters related to these Cases. Among the

services provided, Brown Rudnick evaluated potential restructuring options which considered,

among other things, the preservation of the Debtors’ potentially valuable tax attributes.

       (f)     Committee Investigation (Matter 0010): Fees: $70,724.00; Total Hours: 80.3.

These fees are related to examining and analyzing claims the reorganized Debtors may assert

against certain former insider of the Debtors and potential claims and causes of action the Debtors

hold against their insurance carriers.

       (g)     Employment and Fee Applications (Matter 0004): Fees: $59,883.00; Total Hours:

76.4. These fees include all services rendered by Brown Rudnick relating to the preparation of




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three monthly fee applications covering September 7, 2023 through November 30, 2023. Brown

Rudnick also spent time during the Application Period facilitating the completion and submission

of other Equity Committee professionals’ fee applications.

       (h)     Asset Sales and Disposition (Matter 0015): Fees: $56,444.50; Total Hours: 47.6.

These fees relate to Brown Rudnick’s work concerning a sale of certain of the Debtors’ assets.

Brown Rudnick reviewed various bids submitted by interested parties and provided related

analysis and recommendations to the Equity Committee. Brown Rudnick, on behalf of the Equity

Committee, frequently consulted with the Debtors’ professionals as the sale process progressed.

       (i)     Contested Matters (Matter 0018): Fees: $55,605.00; Total Hours: 52.0. Time spent

on this matter principally relates to Brown Rudnick’s evaluation of the Lead Plaintiff’s Motion to

Apply Bankruptcy Rule 7023 to Class Claims [Docket No. 668], and preparing the Equity

Committee objection to such motion [Docket No. 699].

       8.      Brown Rudnick asserts that the foregoing services were necessary to the

administration of the Chapter 11 Cases and were beneficial to the Equity Committee at the time

which the services were rendered. All services were performed within a reasonable amount of

time commensurate with the complexity, importance, and nature of the problem, issue or task

addressed.

                            SUPPORTING DOCUMENTATION

       9.      As noted above, Brown Rudnick was retained to serve in the capacity of counsel to

the Equity Committee by Order of this Court dated October 16, 2023, which retention was effective

as of September 7, 2023.




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        10.    This Application represents Brown Rudnick’s first interim application as counsel

to the Equity Committee and covers the period from September 7, 2023, through December 31,

2023.

        11.     The computerized time sheets included with the Monthly Fee Applications detail

the services rendered by the members and associates of Brown Rudnick, the hourly rate charged

by each member, associate or paralegal, and the actual time expended in the performance of such

services. Said time sheets reflect that Brown Rudnick has expended 1,673.6 hours in performing

services for the Equity Committee, resulting in charges of $1,906,541.00. The blended hourly rate

charged herein is $1,139.19 which Brown Rudnick believes is fair and reasonable in light of the

nature of the services rendered and the expertise of the professionals rendering such services.

        12.    The Monthly Fee Applications also include a detailed breakdown of all out-of-pocket

disbursements incurred by Brown Rudnick in the performance of its duties as counsel to the Equity

Committee, which total $15,858.79. In the normal course of Brown Rudnick’s practice, expenses are

only charged to a client after the expenses are actually incurred by Brown Rudnick.

        13.    The following Monthly Fee Applications which comprise this Application were filed

with the Court and served pursuant to the Interim Compensation Order:




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Date Filed        Filing Period         Total Fees            20% Holdback           Fees Requested      Expenses
and Docket                              (at 100%)                                       (at 80%)         Requested
   No.                                                                                                   (at 100%)
  (First)       September 7, 2023
11/06/2023              –
                                       $448,581.00 2           $89,716.20              $358,864.80        $2,274.38
Docket No.        September 30,
   669                2023

 (Second)
12/06/2023      October 1, 2023 –
                                       $590,162.50             $118,032.50             $472,130.00        $1,664.93
Docket No.      October 31, 2023
   786

  (Third)
                November 1, 2023
12/22/2023
                 – November 30,        $502,870.50             $100,574.10             $402,296.40        $6,134.04
Docket No.
                      2023
    863

 (Fourth)
                December 1, 2023
 2/1/2024
                – December 31,         $364,927.00             $72,985.40              $291,941.60        $5,785.44
Docket No.
                     2023
   943 3

 TOTAL                                $1,906,541.00            $381,308.20            $1,525.232.80      $15,858.79


                        PAYMENT AND REIMBURSEMENT REQUESTED

          14.      Pursuant to the Interim Compensation Order, Brown Rudnick submits this First

  Interim Application seeking interim approval and allowance of compensation in the amount

  $1,906,541.00 and actual and necessary expenses in the amount of $15,858.79, incurred during

  the interim period from September 7, 2023 through and including December 31, 2023.

          15.      Brown Rudnick has not previously applied for payment of any fees or

  reimbursement of any disbursement during the Cases, except for the Monthly Fee Applications




  2
      Brown Rudnick received informal comments to the First Monthly Application from the Office of the United
      States Trustee. In response to those comments Brown Rudnick has agreed to reduce its original fee request by
      $1,531.00, from $450,112.00 to $448,581.00.
  3
      The deadline to object to the Fourth Monthly Fee Application is February 21, 2024.



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that is has submitted and filed with the Court. Brown Rudnick does not hold a retainer in respect

of its services as counsel to the Equity Committee.

         16.        In accordance with Bankruptcy Code section 504 and Fed. R. Bankr. P. 2016(a), no

agreement or understanding exists between Brown Rudnick and any other person for the sharing

of compensation received or to be received for services rendered in or in connection with these

Cases.

         17.        No agreement or understanding prohibited by 18 U.S.C. § 155 has been or will be

made by Brown Rudnick.

         18.        The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that this Application complies with that Local Rule.

         19.        Brown Rudnick provides the following responses to the inquiries stated in section

C.5 of the U.S. Trustee Guidelines:

               a. Did you agree to any variations from, or alternatives to, your standard or customary
                  billing rates, fees or terms for services pertaining to this engagement that were
                  provided during the application period? If so, please explain. No.
               b. If the fees sought in this fee application as compared to the fees budgeted for the
                  time period covered by this fee application are higher by 10% or more, did you
                  discuss the reasons for the variation with the client? Not applicable.
               c. Have any of the professionals included in this fee application varied their hourly
                  rate based on the geographic location of the bankruptcy case? No.
               d. Does the fee application include time or fees related to reviewing or revising time
                  records or preparing, reviewing, or revising invoices? (This is limited to work
                  involved in preparing and editing billing records that would not be compensable
                  outside of bankruptcy and does not include reasonable fees for preparing a fee
                  application.). If so, please quantify by hours and fees. No.
               e. Does this fee application include time or fees for reviewing time records to redact
                  any privileged or other confidential information? If so, please quantify by hours
                  and fees. No.
               f.   If the fee application includes any rate increases since retention: (i) Did your client
                    review and approve those rate increases in advance; and (ii) Did your client agree
                    when retaining the law firm to accept all future rate increases? If not, did you
                    inform your client that they need not agree to modified rates or terms in order to


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                have you continue the representation, consistent with ABA Formal Ethics Opinion
                11–458? No.

        20.     Notice of this First Interim Application has been provided in accordance with the

Interim Compensation Order. Brown Rudnick submits that no other of further notice need to be

provided.

        21.     Annexed hereto and made part hereof as Exhibit A is the Certification of Robert J.

Stark, with respect to compliance of Local Rules submitted in accordance with the provisions of

Section 504 of the Bankruptcy Code.

                                           RELIEF REQUESTED

        22.     By this Application, Brown Rudnick requests this Court approve payment of one

hundred (100%) of the fees and expenses incurred by Brown Rudnick during the Application Period.

        23.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code, it

is respectfully submitted that the amount of compensation requested by Brown Rudnick in this

Application is fair and reasonable given (a) the complexity of the Chapter 11 Cases, (b) the time

expended, (c) the nature and extent of the services rendered, (d) the value of such services, and (e) the

costs of comparable services other than in a case under the Bankruptcy Code.

                                           CONCLUSION

        WHEREFORE, Brown Rudnick respectfully requests (a) interim approval and allowance of

compensation for professional and paraprofessional services rendered as counsel to the Equity

Committee during the Application Period in the amount of $1,906,541.00; (b) interim approval and

allowance of the amount of actual and necessary out-of-pocket expenses incurred in the course of

providing services as counsel to the Committee during the Application Period in the amount of

$15,858.79; (c) approval of payment of the Holdbacks in the amount of $381,308.20; and (d) entry

of an order authorizing and directing that the Debtors, as debtors-in-possession, pay to the Applicant



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the amounts allowed, subject to amounts paid on account of the Monthly Fee Applications under the

Interim Compensation Order, and granting any and all further relief as may be appropriate.

Dated: February 14, 2024


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